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                            Exhibit 14
Case 2:17-cv-04261-KM-JBC Document 120-16 Filed 06/21/19 Page 2 of 44 PageID: 4301




  LOUIS JOHN DUOHI, JR.•
                                          DUGHI AND HEWIT
                                                                                   CHRISTOPHER J. WEBER
                                            A PROFESSIONAL CORPORATION
  RUSSELL L. HEWn'                                                                 PAMELA HATTEM
  ROBERTl:'/. OONNELLY,JR.                                                         JEFFREYS. CHIESA
                                               ATTORNEYS AT LAW
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  KEITH A. OABLE                                                                   CRAIO A. DOMALEWSKI
                                                                                   MATI"HEWT. ROSE
                                          10 LAKE CENTER EXECUTNE PARK
  OF COUNSEL
                                              401 RT. 73 NORTH, SUITE 206
   MARJORIE OllMAN BAKER
                                             MARLTON, NEW JERSEY 08053
   WILU/.M / . PALA.TUCCI
                                                      (609) 985-1400
                                               TELECOP!ER: (609) 985-2822          • CERTIFl!lll CML TRIAL ATTORNEY
  REPLY TO:
            Cranford
                                          January 15, 1998

            SENT VIA FEDERAL EXPRESS
            Amelia M. Wagner, Esq.
            Assistant Regional Counsel
            Off ice of Regional Counsel
            U.S. Environmental Protection Agency
            Region II
            290 Broadway, 17th Floor
            New York, New York 10007-1866
                             Re:  Congoleum Corporation -- Diamond Alkali
                                  Superfund Site
                             Our File No.: 6378
            Dear Ms. Wagner:
                      Enclosed please find two copies of the Response of
            Congoleum Corporation to the Request for Information regarding
            the Diamond Alkali Superfund Site· and Passaic River Study
            Area, both containing original signature pages.
                      If you have any questions or require any additional
            infonnation, please do not hesitate to call. Once again, I
            want to thank you for your courtesies in extending the time
            for Congoleum Corporation to submit the within Response to the
            Request for Information.
                                                     Sincerely yours,
                                                     DUGHI AND HEWIT
                                                         C~rr-.\~
                                                       '7-~'-:.--~
                                                     Russell L. Hewit
            All3RLH
            Enc.




                                                                            CONGOLEUM - 051120


                                                                                                     CONG_0005990
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               CERTIFICATION OF ANSWERS TO REQUEST FOR INFORMATION



         State of     Pennsylvania

         county of _D_e_l_a_w_a_re____

          I certify under penalty of law that I have personally examined
          and am familiar with the information submitted in this document
          (response to EPA Request for Information) and all documents
          submitted herewith, and that based on my inquiry of those
          individuals immediately responsible for obtaining the
          information, I believe that the submitted information is true,
         accurate, and complete, and that all documents submitted herewith
         are complete and authentic unless otherwise indicatad. I am
         aware that there are significant penalties for submitting false
         information, including the possibility of fine and imprisonment.
         I am also aware that my company is under a continuing obligation
         to supplement its response to EPA's Request for Information if
         any additional information relevant to the matters addressed in
         EPA's Request for Information or the company's response thereto
         should become known or available to the company.

                     Robert G. Rucker
                     NAME (print or type)

                     Director of Environmental Affairs
                     TITLE (print or type)


                    ~¥~
                    SIGNATUE

                    Sworn to before me this I~ ct-1..._,
                    day of~·~ , 19]2.


                    '];~~~sq,, ~LL+

                                    Notarial Seal
                       Bonnie J. McCullough, Notary Public
                       Marcus Hook Boro, Delaware County
                       My Commission Expires May 15, 2000
                      Member. Penrisylvania Association of Notaries




                                                                      CONGOLEUM - 051121


                                                                                     CONG_0005991
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                         RESPONSE OF CONGOLEUM CORPORATION
                                         TO
                             REQUEST FOR INFORMATION
                                      OF THE
                 UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                    REGARDING
           DIAMOND ALKALI SUPERFUND SITE AND PASSAIC RIVER STUDY AREA



                                  EPA INTRODUCTION

                  The United States Environmental Protection Agency
        ("EPA") is investigating the release of hazardous substances into
        the Passaic River. EPA has info:rmation indicating that hazardous
        substances from your facility formerly located at 195 Belgrove
        Drive in Kearny, New Jersey, may have been discharged into the
        Passaic River.
                  Please provide the info:rmation requested below,
        including copies of all available documentation that supports
        your answers.
                               CONGOLEUM INTRODUCTION

                  EPA has served a Request for Information concerning
        possible discharges of allegedly hazardous substances from a
        facility formerly owned and operated by Congoleum Corporation (or
        its predecessors} ( 11 Congoleum 11 ) , which facility was formerly
        located at 195 Belgrave Drive, Kearny, New Jersey ("Kearny
        Facility").
                  Congoleum has owned and operated, and continues to own
        and operate, multiple facilities in multiple, different states.
        Congoleum interprets EPA's Request for Info:rmation to be limited
        solely to Congoleum's former Kearny Facility and, accordingly,
        has so limited its responses to the Request for Information.
                 Predecessors of Congoleum owned and operated a flooring
       manufacturing facility in Kearny, New Jersey from the late 1880s
       to the early or mid 1970s, and maintained administrative offices
       and a small laboratory at the sit.e into the mid 1980s. Congoleum
       has been purc~ased, sold and reorganized through mergers and/or
       acquisitions with different companies on several occasions.
       Unfortunately, there are no current Congoleum employees with
       personal knowledge concerning the manufacturing operations of the
       former Kearny Facility, and Congoleum's responses to the Request


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                                                          CONGOLEUM - 051122


                                                                           CONG_0005992
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              for Information are, therefore, necessarily limited and qualified
              to be based upon information and belief (not personal knowledge)
              and what was discovered through documents and from interviews of
              former employees in the exercise of due diligence.

                           REQUEST FOR INFORMATION AND RESPONSES THERETO

                        Q1. Bow long has your company operated at the facility
              designated above? If your company no longer operates at this
              facility, during what years did your company operate at the
              facility?

                        Al. Congoleum no longer owns or operates any facility
              in Kearny, New Jersey. Predecessors of Congoleum owned and
[.1           operated the Kearny Facility from the late 1880s to the early or
              mid 1970s, and maintained administrative offices and a small
              laboratory at the site until the mid 1980s.

                           In addition, see Exhibit 1, 11 Corporate History of
              Congoleum,   11
                              and Exhibit 2, 11 0wnership of Kearny Facility. 11

                        Q2(a). Does your company have or has it in the past
              had a permit or permits issued pursuant to the Resource
              Conversation and Recovery Act, 42 u.s.c. Section 6901, ~ ~.?
              If "yes", please provide the years that your company he.ld such a
              permit and its EPA identification number.

                          A2(a). Congoleum is not aware of any RCRA permits
              being issued to Congoleum or its predecessors with regard to the
              former Kearny Facility. However, as a result of a Freedom of
              Information Request (No. 02-RIN-01147-97), Congoleum attorneys
              were informed that a RCRA permit was issued to Belgrave Arms with
              regard to a facility known as 11 Congoleum Building -- Geller
              Associates 11 in or about September 1989 with an EPA ID. No. of
              NJD040736704. The entity Belgrave Arms and the facility
              11
                 Congoleum Building -- Geller Associates 11 are llQ.t. affiliates or
              otherwise related with or to Congoleum, and Congoleum has no
              information or knowledge concerning this permit.

                            Q2(b). Does your company have or has it in the past
             had a permit or permits issued pursuant to the Federal Water
             Pollution Control Act, 33 u.s.c. Section 1251, ~ ~.? If
             11 yes 11 , please provide the years that your company held such a
             permit.

                       A2(b). Current Congoleum employees believe, but have
             no personal knowledge, that some type of water or water discharge
             permit was issued to Congoleum with regard to its operations at
             the Kearny Facility, but they do not know the specific type of
             permit, by whom it was issued, when it was issued and no copies
             of any permits have been located.  In response to Freedom of
             Information Requests served on both EPA and the New Jersey




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                                                                   CONGOLEUM - 051123


                                                                                   CONG_0005993
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           ·Department of Environmental Protection ("DEP"), no information
             has been obtained regarding any permit issued pursuant to the
c;           Federal Water Pollution Control Act or under other federal or
             state acts, and no copies of permits have been obtained.
                       Q3. Did you company receive, utilize, manufacture,
             discharge, release, store or dispose of any materials containing
             the following substances:
                       A3.   See Exhibit 3, "Answer to Question 3."
                       Q4(a). Provide a description of the manufacturing
             processes for which all hazardous substances, including but not
             limited to the substances listed in response to item (3), were a
D            product or byproduct.
                       A4(a). See attached Exhibit 4, 11 Description of
             Manufacturing Processes at Kearny Facility."
                      Q4(b). During what parts of the manufacturing
            processes identified in the response to item (4) (a), above, were
            hazardous substances, including but not limited to the substances
            listed in response to item (3), generated?
                       i.   Describe the chemical composition of each
                            hazardous substance.
                       ii. For each process, what amount of hazardous
                            substances was generated per volume of finished
                            product?
                       iii. Were these hazardous substances combined with
                            wastes from other processes? If so, wastes from
                            what processes?
                      A4(b). See attached· Exhibit 4, 11 nescription of
            Manufacturing Processes at Kearny Facility." Current Congoleum
            employees have no information concerning volume of substances
            generated, but believe manufacturing by-products would have been
            insignificant except for scrap product and finished product not
            fit for sale.
                      QS. Describe the methods of collection, storage,
            treatment and disposal of all hazardous substances, including but
            not limited to, the substances listed in response to items (3)
            and (4}. Include information on .the following:
                      AS. See attached Exhibit 4, "Description of
            Manufacturing Processes at Kearny Facility."
                      QS(a). Identify all persons who arranged for and
            managed the processing, treatment, storage and disposal of
            hazardous substances.
                       AS(a).   Unknown.



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                                                               CONGOLEUM - 051124


                                                                                CONG_0005994
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                        QS(b). If hazardous substances were taken off-site by
              a hauler or transporter, provide the names and addresses of the
              waste haulers and the disposal site locations.
                          AS {b) .   Unknown.
                        QS(c). Describe all storage practices employed by your
              company with respect to all hazardous substances from the time
C'.           operations commenced until present. Include all on-site and off-
              site storage activities.
                        AS(c). ~attached Exhibit 4, 11 Description of
              Manufacturing Processes at Kearny Facility. 11
                        QS(c) (i). If drums were stored outside, were the drums
              stored on the ground or were they stored in areas that had been
              paved with asphalt or concrete? Please provide a complete
              description of each storage area.
                        AS(c) (i}. Drums containing raw materials were not
              stored on the ground or outside, but were maintained in
              warehouses or other covered areas. Upon information and belief,
              but not personal knowledge, drums containing finished scrap
              materials and empty drums may have been stored outside on
              pallets.
                        QS(c) {ii). When drums were stored outside, were empty
              drums segregated from full drums?
                        AS(c) (ii). See response to QS(c) (i). Empty drums
              would have been segregated from drums with product scraps.
                        QS(d). What processes do you use to treat your waste?
              What do you do with the waste after it is treated?
                        AS(d). There were no waste treatment systems or
              facilities at the Kearny Facility.
                         Q6(a). For process waste waters generated at the
             · facility which contained any hazardous substances, including but
               not limited to the substances listed in response to items (3) and
              (4) :

                         Q6(a) (i) Was the waste stream discharged into a
              sanitary   sewe~ and if so, during what years?
                        A6(a) (i). Contact and non-contact cooling waters were
              discharged into the Kearny sanitary sewer system. Congoleum has
              no reason to believe that non-contact cooling water contained any
              hazardous substances and, upon information and belief, the non-
              contact cooling water did not contain hazardous substances (other
              than possible contaminants, if any, which may have been present
              in the in-coming water supply) . Contact cooling water was used
              to cool finished product, was not used in the manufacturing


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                                                                CONGOLEUM - 051125


                                                                                 CONG_0005995
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            process and should not have contained anything other than trace
            amounts of plasticizer, dirt and contaminants as a result of
_)          being washed over a finished flooring product. Current Congoleum
            employees do not know when such discharges first began, but
            believe such discharges into the sewer system occurred in the
            1940s, 1950s, 1960s and early 1970s.
                      Q6(a) (ii). Were they treated before being discharged
            into the sanitary sewer and if so, how. Please be specific.
                         A6(a) (ii).   Cooling water was not treated before
            discharge.
                      Q6(a) (iii). If the waste waters were not discharged to
D           the sanitary sewer, where they were disposed and during what
            years?
                      A6(a) (iii). Non-contact cooling water, the source of
            which would have been the Passaic River and on-site wells, was
            discharged to the Passaic River. Contact cooling waters may, at
D           intermittent times, have been discharged to the Passaic River
            during times of overflow of the sanitary sewer.
                      Q6(a) (iv). Please provide the results of any analyses
            performed on any waste process streams generated at the facility.
                      A6(a) (iv). Current Congoleum employees do not know
            whether any analyses were performed of any waste process streams
            and do not have copies of any documents indicating any analyses
            were performed.
                      Q6(b).      For floor drains or other disposal drains at
            the facility,
                      Q6(b) (i). Did the drains connect to a sanitary sewer
            and if so, during what years.
                       A6(b) (i). Upon information and.belief, but no personal
             knowledge, current Congoleum employees believe that there were
           · floor drains and open trenches that connected to the sanitary
             sewer system during the years of plant operation.
                      Q6(b) (ii). If the floor drains or other disposal
            drains at the facility were not discharged to the sanitary sewer,
            where were they discharged and what years?
                         A6(b) (ii).   Not applicable.




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                                                                CONGOLEUM - 051126


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                       Q6(c) (i). Did any storm sewers, catch basins or
             lagoons exist at any time at the facility and if so, during what
             years?

                       A6(c) (i). Upon information and belief, but no personal
             knowledge, current Congoleum employees believe that there were
             storm sewers that discharged to the Passaic River, and that there
             were two retention ponds for fire fighting purposes. There were
             no lagoons on site.
                       Q6(c) (ii).  If catch basins or lagoons existed, were
             they lined or unlined?

                       A6(c) (ii). Not applicable.

                       Q6(c) (iii).   What was stored in the lagoons?

                       A6(c) (iii).   Not applicable.
                       Q6(c) (iv). Where was the discharge from any of these
             structures released and during what years? Was this discharge
             treated before its release and if so, how and during what years?
             What was the chemical composition of any waste released, and
             during what years?

                       A6(c} (iv). Contact cooling water was discharged into
             the Kearny sanitary sewer system and, during times of sewer
             system overflow, may have been discharged into the Passaic River.
             Contact cooling water from spraying of finished product may have
             been collected in open trenches in the floor of some buildings
             and discharged to the sewer system and/or Passaic River. This
             contact cooling water was used to cool finished product, was not
             used in the manufacturing process and should not have contained
             anything other than trace amounts of plasticizer, dirt and
             contaminants as a result of being washed over a finished flooring
             product. Non-contact cooling water would have been obtained from
             the Passaic River and on-site wells and discharged back into the
             Passaic River. Its composition should have been the same as what
            ·was obtained from the river and wells.
                       Q6(d). Please supply diagrams of any waste water
             collection, transport or disposal systems on the property.

                      A6(d.). Congoleum has identified microfiche copies of
            engineering drawings for the Kearny Facility, including Cooling
            Water Surveys, Well Water Re-Use Diagrams Fire Protection and
            Sewer Line drawings and Storm and City Sewer Lines drawings,
            among others. See attached Exhibit 5, "Engineering Drawings 11 and
            enclosed drawings. These are not all such engineering drawings,
            but only some drawings which were identified as possibly
            responsive to this Request for Information. An exhaustive review
            of the microfiche has not been performed.



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                                                               CONGOLEUM - 051127


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                  Q6(e}. Please provide information on the installation,
        location and use of all outfalls, permitted or unpermitted, that
        are currently or were formerly used at the facility, including
        but not limited to the four inch outfall discharging from your
        facility to the Passaic River.

                  A6(e). Upon information and belief, but not personal
        knowledge, current Congoleum employees believe that there were
        outfalls discharging cooling water and stonn run-off into the
        Passaic River.
                  Q6(e} (i}. Please indicate which are currently in use
        and which, if any, have been removed or closed, and if so, how
        and when.

                  A6(e) (i). Congoleum does not currently own any portion
        of the Kearny Facility. Current Congoleum employees do not know
        if any outfalls are currently being used, and do not know when or
        if they were removed or closed.

                   Q6(e) (ii). Describe the constituents of the discharges
        from these outfalls and indicate the source of the discharge from
        each outflow.

                  A6(e) (ii). Upon information and belief, but no
        personal knowledge, current Congoleum employees believe that
        these outfalls discharged non-contact cooling water and storm
        run-off into the Passaic River, plus contact cooling water at
        those times as there was an overflow of the Kearny sanitary sewer
        system.  See prior responses.

                  Q6(e) (iii). Provide copies of any diagrams, maps,
        drawings, plans or specifications that describe the outfall.

                  A6(e) (iii). See Exhibit 5, 11 Engineering Drawings,   11

        enclosed drawings and response to Q6(d).

                   Q7(a). For each hazardous substance, including but not
         limited to the substances listed in response to item (3) or
       · identified in the responses to item (4) above, provide the total
         amount generated during the operation of the facility on an
         annual basis.

                  A?(a). Unknown. However, because raw materials were
        used almost in. their entirety in making finished product, very
        little, if any, raw materials would have been included in any
        waste streams.

                  Q7(b). Were any hazardous substances, including but
        not limited to .the substances listed in response to item {3} or
        identified in response to item (4) above, disposed of in the
        Passaic River or discharged to the Passaic River? If yes,
        identify the hazardous substances, estimate the amount of




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                                                          CONGOLEUM - 051128


                                                                              CONG_0005998
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                    material discharged to or· disposed of in the Passaic River and
                    the frequency with which this discharge or disposal occurred.
                    Also please include any sampling of the river which you might
                    have done after any discharge or disposal.
                              A7(b). Current Congoleum employees have no personal
                    knowledge of any hazardous substances being disposed of in or
                    discharged to the Passaic River. Except for the possibility of
                    trace amounts of plasticizers, dirt or contaminants from contact
                    cooling water being washed over finished floor products and the
                    presence of contaminants in the in-coming water supply, Congoleum
                    has no reason to believe that the cooling water discharged to the
                    Passaic River contained any hazardous substances. Congoleum is
                    not aware of conducting any sampling of the Passaic River after
                    any discharge of cooling water.
                               QB(a). Please identify any leaks, spills, explosions,
                     fires or other incidents or accidental material discharge that
                    ·occurred at the facility during which or as a result of which any
                     hazardous substances, including but not limited to the substances
                     listed in response to item (3) or (4) were released on the
                     property, into the waste water or storm drainage system at the
                     facility or to the Passaic River. Please include all information
                     relating to the explosion at the facility in August 1943.
                     Provide any documents or information relating to these incidents,
                     including the ultimate disposal of any contaminated materials.
                              AS(a). Upon information and belief, but no personal
                    knowledge, current Congoleum employees believe that there was a
                    spill of No. 6 fuel oil in or about the winter of 1973 or 1974
                    resulting from vandals opening a valve on a fuel oil tank at
                    night. The spill was discovered and cleaned up.
                              To the best of the knowledge, information and belief of
                    current Congoleum employees, there was an explosion at the site
                    on or about August 19, 1943, which was caused and/or arose from
                    the processing used to camouflage netting with nitrocellulate,
                    which involved working with a derivative of nitroglycerine, an
                    explosive. No current Congoleum employees have any personal
                   ·knowledge concerning the details of the explosion.
                              QB{b). Please provide the results of any sampling of
                    the soil, water, air or other media after any such incident and
                    before and after clean up. Please provide in this information
                    all sampling p~rformed for or by NJDEP.
                               AS(b).   Unknown.




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                                                                      CONGOLEUM - 051129


                                                                                        CONG_0005999
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                  Q9(a}. Was your facility ever subject to flooding. I~
        so, was the flooding due to (i) overflow from sanitary or storm
        sewer backup, and or (ii) flood overflow from the Passaic River?
                  A9(a). Upon information and belief, but no personal
        knowledge, current Congoleum employees believe that there was,
        from time to time, overflow from the Kearny sanitary sewer system
        and storm sewer backups, and that there also was, from time to
        time, overflow of the river banks from flooding of the Passaic
        River, but no information is known concerning the dates, duration
        or extent of such overflows or flooding.
                  Q9(b).    Please provide the dates and duration of each
        flood event.
                   A9(b).   See response to Q9(a).
                  QlO. Please provide a detailed description of any
        civil, criminal or administrative proceedings against your
        company for violations of any local, state or federal laws or
        regulations relating to water pollution or hazardous waste
        generation, storage transport or disposal. Please provide copies
        of all pleadings and depositions or other testimony given these
        proceedings.
                  AlO. Upon information and belief, but no personal
        knowledge, current Congoleum employees are not aware of any
        civil, criminal or administrative proceedings against Congoleum
        with regard to the Kearny Facility relating to water pollution or
        hazardous waste generation, storage, transport or disposal.
                  Qll. Provide a copy of each document which relates to
        the generation, purchase, use, handling, hauling and/or disposal
        of all hazardous substances, including but not limited to, the
        substances listed in response to item (3) or (4). If you are
        unable to provide a copy of any document, then identify the
        document by describing the nature of the document (e.g. letter,
        waste manifest, etc.). Describe the relevant information
        contained therein. Identify by name and job title the person who
        prepared the document. If the document is not readily available,
        state where stored, maintained or why it is unavailable.
                  All. No documents are available and no information is
        known as to the possible contents. of any such documents, except
        that current ~ongoleum employees believe that there may have been
        waste manifests for disposal of laboratory materials when the
        small laboratory was closed in the early to mid 1980s. No copies
        of such waste manifests are available at Congoleum.
                  Ql2(a). Did you or anyone else sample the soil,
        groundwater, surface water, ambient air or other environmental
        media at the facility for purposes other than those identified in
        questions above?



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                                                          CONGOLEUM - 051130


                                                                            CONG_0006000
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                       Al2(a). Based on information and belief, but no
             personal knowledge, the answer is no.
(i
                       Ql2(b). If so, please provide all other documents
             pertaining to the results of these analyses.

                           A12(b).   Not applicable.

                       Q13(a). Has your company owned the facility at
             location designated above. If so, from whom did your company
             purchase the property and in what year? If your company
             subsequently sold the property, to whom did it sell it and in
             what year? Please provide copies of any deeds and documents of
             sale.

                           Al3(a).   See attached Exhibit 2,   11
                                                                    0wnership of Kearny
              Facility."

                       Ql3(b). If your company did not own the facility, from
             whom did your company rent the facility and for what years?
             Please provide copies of any rental agreements.

                           Al3(b).   Not applicable.

                       Ql3(c). To the extent that you know, provide the names
             of all parties who owned or operated the facility during the
             period from 1940 through the present. Describe the relationship,
             if any, of each of those parties with your company.

                       A13{c). See attached Exhibit 1, "Corporate History of
             Congoleum," and Exhibit 2, "Ownership of Kearny Facility. 11

                       Ql4. Answer the following questions regarding your
             business or company. In identifying a company that no longer
             exists, provide all of the information requested, except for the
             agent for service of process.  If your company did business under
             more than one name, list each name.

                           Q14(a).   State the legal name of your company.

                           Al4(a).   Congoleum Corporation.

                       Q14(b). State the name and address of the president or
             the chairman of the Board, or ot~er presiding officer of your
             company.
 D
                       Al4(b). Roger Marcus, Congoleum Corporation, 3705
             Quakerbridge Road, P. o. Box 3127, Mercerville, New Jersey 08619.




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                                                                       CONGOLEUM - 051131


                                                                                          CONG_0006001
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c·.


                        Q14(c). Identify the state of incorporation and your
              company's agent for service of process in the state of
              incorporation and in New Jersey.
                        Al4(c). Congoleum Corporation is a Delaware
              corporation. For purposes of this Response to Request for
              Infonnation, documents may be served on Russell L. Hewit, Dughi
              and Hewit, P.C., 340 North Avenue, Cranford, New Jersey 07016.
                        Q14(d). Provide a copy of company's "Certificate of
              Incorporation" and any amendments thereto.
                           A14(d).   To be supplied.

D                       Q14{e). If your company is a subsidiary or affiliate
              of another company, or has subsidiaries, or is a successor to
              another company, identify these related companies. For each
              related company, describe the relationship to your company;
              indicate the date and manner in which each relationship was
              established.
                         Al4(e).     See Exhibit 1, "Corporate History of
              Congoleum. "
                        Q14(f). Identify any predecessor organization and
              dates that such company became part of your company.
                           A14(f).   See Exhibit 1,    11
                                                            Corporate History of
              Congoleum.   11



                        Q14(g). Identify any other companies which were
              acquired by your company or merged with your company.
                           Al4(g).   See Exhibit 1,    11
                                                            Corporate History of
              Congoleum.   11



                        Q14(h). Identify the      date of incorporation, agents for
              service of process in the state     of incorporation and New Jersey
              and nature of business activity     for each company identified in
              responses to items (14) (e), (f)    and (g) above.
                           A14(h). Except for the current Congoleum Corporation,
              for which    all such information has been provided, all other
              companies    either no longer exist .or are no longer affiliated with
              Congoleum    Corporation, and, for this reason, such information is
              not known    to Congoleum employees.
                        Ql4(i). Identify all previous owners or parent
              companies, addresses and the date when change in ownership
              occurred.




                                               -11-


                                                                        CONGOLEUM - 051132


                                                                                      CONG_0006002
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c

                         Al4 (i) .   ~   Exhibit l,   11   Corporate History of
            Congoleum.   11

0
                       QlS. Provide the name, address, telephone number,
            title and occupation of the person(s) answering this "Request for
            Information" and state whether such person(s) has personal
            knowledge to responses. In addition, identify each person who
            assisted in any way in responding to the "Request for
            Information" and specify the question to which each person
            assisted in responding. Please include the names and addresses
            of former employees who were contacted to respond to any of the
            questions.
                      A15. Robert G. Rucker, Director of Environmental
            Affairs, Congoleum Corporation, assisted in the preparation of
            responses to this Request for Information. All of his answers
            are based on information and belief, not personal knowledge. In
            addition, former employee Anthony N. Piacente, a former Congoleum
            chemist at the Kearny Facility from approximately 1955 to 1965,
            and a vice president of new product development at the time of
            his retirement in approximately 1995 or 1996, was also consulted
            in preparing answers to this Request for Information. Efforts
            were made to contact Joseph Renzo and Frank Uddis, former
            employees who worked at the Kearny Facility and were thought
            possibly to have relevant information, but such efforts were
            unsuccessful.




                                              -12-


                                                                      CONGOLEUM - 051133


                                                                                    CONG_0006003
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                    EXHIBIT
                       1




                                                           CONGOLEUM - 051134


                                                                            CONG_0006004
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f)


                              RESPONSE OF CONGOLEUM CORPORATION
                                              TO
                                   REQUEST FOR INFORMATION
                                            OF THE
                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                          REGARDING
                 DIAMOND ALXALI SOPERFUND SITE AND PASSAIC RIVER STUDY AREA



             EXHI~IT   1, CORPORATE HISTORY OF CONGOLEUM

                         In or about the period 1886 to 1888, the Nairn Linoleum
             Company purchased a portion of the property making up the former
             Kearny Facility and began the manufacture of plain imprinted
             linoleum.
                         In or about 1902, the United Roofing & Manufacturing
             Company ("United Roofing") organized as a wholly owned subsidiary
             of Barrett Co., Inc., and began manufacturing floor covering
             products in or about 1903.     In or about 1911 or 1912, United
             Roofing began doing business as Congoleum Co., a division of
             Barrett Co., Inc.    In 1916, The Congoleum Corporation of PA was
             formed as a wholly owned subsidiary of Barrett Co., Inc. and all
             assets and liabilities of United Roofing were transferred to The
             Congoleum Corporation of PA.    In 1919, Congoleum Co., Inc. was
             formed, and all of the flooring business of Barrett Co., Inc.,
             including The Congoleum Company of PA, was transferred to and
             operated as Congoleum Co., Inc.     In or about 1920, Congoleum Co.,
             Inc. purchased the stock of Farr & Bailey Manufacturing Co.
             ("Farr & Bailey").    In or about 1921, Congoleum Co., Inc.




                                          EXHIBIT 1-1




                                                                CONGOLEUM - 051135


                                                                                 CONG_0006005
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            purchased Baltimore Roofing & Asbestos Co.       In 1924, Nairn
             Linoleum Company merged with Farr & Bailey, and the merged
             company was named Nairn Linoleum Manufacturing Corporation, which
            was then acquired by and merged into Congoleum Co., Inc. and the
             resulting company was named Congoleum Nairn, Inc.      Congoleum
            Nairn, Inc. continued to own and operate the Kearny Facility,
            among others.
                       In or about 1951, Congoleum Nairn, Inc. purchased
            Delaware Floor Products, Inc.    In or about 1953, the company
            purchased the assets of the Sloan Blaban Corporation, the
            successor to George W. Blaban Co. and Sloan Corporation, and
            operated the businesses as Sloan-Delaware Floor Products, either
            a division or subdivision of Congoleum Nairn, Inc.
                       In or about 1955, Congoleum Nairn, Inc. purchased
            Patchogue Plymouth Mills Corp. and Loomweave Corp., both non-
            resilient floor product   companies~

                       In or about 1963, Congoleum Nairn, Inc. purchased
            Mersman Brothers, Inc.    In or about 1967, the company purchased
            Lewis Carpet Mills.    In or about 1968, Congoleum Nairn, Inc.
           ·purchased Kinder Manufacturing Co.      All three of these companies
            were non-resilient floor product companies.
                       In or about 1968, Bath Industries, Inc. acquired
            Congoleum Nairn, Inc. by merger.       The surviving company was
            renamed Congoleum Corporation and the Resilient Flooring
            Operations, which included the operations at the Kearny Facility,


                                         EXHIBIT 1-2


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                                                                CONGOLEUM - 051136


                                                                                CONG_0006006
    Case 2:17-cv-04261-KM-JBC Document 120-16 Filed 06/21/19 Page 19 of 44 PageID: 4318




            were reorganized into a wholly owned subsidiary named Congoleum
            Industries, Inc.    The non-resilient floor product companies were
            organized into other divisions or subdivisions.     In or about
            1975, Congoleum Industries, Inc. was absorbed into Congoleum
            Corporation and the Resilient Flooring Operations were operated
            as a division of Congoleum Corporation.
                      In or about 1980, Congoleum Corporation engaged in a
            series of transactions and corporate reorganizations, the net
            effect of which was the company was taken private.      New corporate
            entities were formed to complete the going private transactions.
            Following completion of the transaction, the surviving
            organization was also known as Congoleum Corporation, of which
            the Resilient Flooring Operations, including the then current
            operations at the Kearny Facility, were a division.
                      In or about 1984, Congoleum Corporation engaged in
            another series of transactions and reorganizations, the net
            effect of which was a leveraged buy-out of Congoleum Corporation.
            New corporate entities were formed to complete the leverage buy-
            out transactions.   Following the completion of these
           ·transactions, there was a parent holding company known as
            Congoleum Industries, Inc.    Congoleum Corporation was a wholly
            owned subsidiary of Congoleum Industries, Inc. and continued to
            operate the Resilient Flooring Operations as a division of this
            new subsidiary, Congoleum Corporation.


D

                                         EXHIBIT 1-3




                                                              CONGOLEUM - 051137


                                                                                 CONG_0006007
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                              In or about 1986, Congoleum Industries, Inc. sold
            different parts of its corporation to different entities.                       With
            regard only to the Resilient Flooring Operations, Resilco, Inc.
            was formed to own the Resilient Flooring Operations and then sold
            by means of a merger to Resilient Acquisition, Inc., a company
            formed for purposes of acquiring the Resilient Flooring
            Operations.          This new corporation was then renamed Congoleum
            Corporation.          Congoleum Industries, Inc. and the company that had
            been     11
                          old 11 Congoleum Corporation merged into Bath Iron Works,
            with Bath Iron Works being the surviving corporation and the name
            11
                 Congoleum 11 being transferred to the company which purchased
            Resilco, Inc. by merger.                Thus, there was another   11
                                                                                   new 11 Congoleum
            Corporation which continued to conduct Resilient Flooring
            Operations.          This   11
                                             1986 11 Congoleum Corporation was not and is not
            a successor to the non-resilient floor product operations of its
            predecessors.
                              In or about 1993, Congoleum Corporation engaged in
            another series of transactions and reorganizations, the net
            effect of which was that Congoleum Corporation purchased the
           ·assets of the Amtico division of American Biltrite, Inc. for a
            40% interest in Congoleum Corporation.




D

                                                     EXHIBIT 1-4




                                                                           CONGOLEUM - 051138


                                                                                                   CONG_0006008
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   '    '




                    EXHIBIT
                                       2




                                                          CONGOLEUM - 051139


                                                                            CONG_0006009
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                         RESPONSE OF CONGOLEUM CORPORATION
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                   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                     REGARDING
            DIAMOND ALKALI SUPERFUND SITE AND PASSAIC RIVER STUDY AREA


        EXHIBIT 2, OWNERSHIP OF KEARNY FACILITY

                    Congoleum personnel do not currently have readily
        available information and/or documents concerning the purchase
        and sale of portions of its Kearny Facility.     However, to the
        best of their information, knowledge and belief, the acreage of
        the Kearny Facility changed over the years as property was both
        purchased in parcels (at one time reaching as many as 66 acres)
        and sold in parcels at different times.     Purchase of property
        began in or about 1886.    The sale of property began in or about
        the 1960s, possibly earlier.    Upon information and belief,
        portions of the Kearny Facility were sold to the City of Kearny
        (and property developed into a recreation park) , Two Guys from
        Harrison (and property developBd/operated as a retail store),
        Franklin Plastics (and property operated as a plastics
        manufacturer), Belgrave Arms (Martin Geller, general
       ·partner) (property use unknown) and other unknown entities.
                    Title searches have been ordered, but not received, to
        provide more specific information. concerning the purchase and
        sale of parcels of property that made up the former Kearny
        Facility.




                                    EXHIBIT 2-1




                                                          CONGOLEUM - 051140


                                                                            CONG_0006010
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                    EXHIBIT
                                       3




                                                          CONGOLEUM - 051141


                                                                            CONG_0006011
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                             RESPONSE OF CONGOLEUM CORPORATION
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                DIAMOND ALKALI SUPERFOND SITE AND PASSAIC RIVER STUDY AREA
~)

             Exhibit 3, Answer to Question 3

             Q3.  Did your company receive, utilize, manufacture, discharge,
             release, store or dispose of any materials containing the
             following substances:

             SUBSTANCE                               YES        NO       DO NOT
                                                                          KNOW
             2,3,7,B tetrachlorodibenzo-p-                       x
             dioxin or other dioxin compounds
             Benzene                                                        x
             Ethyl Benzene                                                  x
             Polyaromatic Hydrocarbons
             {If yes, please list specific
             compound)
                  Benzine                             x
                  Diesel Fuel                                               x
                  Gasoline                            x
                  Fuel Oil                            x
             Toluene                          -       x
             Xylene                                   x
             PCBs                                               X**
             Arsenic                                                        x
             Cadmium                                  x
             Chromium                                                       x
             Copper                                                         x
             Lead                                     x
             Mercury                                  x
             Nickel                                                         x
             Silver                                              x
             Zinc                                     x
             cyanide                                             x

             ** Congolewn did not receive, utilize, manufacture1 discharge,
             release, store or dispose of PCBs at the Kearney Facility. Upon
             information and belief, however, there were transformers at the
             facilty which may have contained PCBs and which, upon information
             and belief, still remain there.




                                     Exhibit 3 -- page 1



                                                                CONGOLEUM - 051142


                                                                                  CONG_0006012
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                    EXHIBIT
                                       4


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                                                          CONGOLEUM - 051143


                                                                           CONG_0006013
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                        RESPONSE OP CONGOLEUM CORPORATION
                                         TO
                             REQUEST FOR INFORMATION
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                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                     REGARDING
           DIAMOND ALKALI SUPERFOND SITE AND PASSAIC RIVER STUDY AREA


        EXHIBIT 4, DESCRIPTION OF MANUFACTURING PROCESSES AT KEARNY
        FACILITY


                  Over the years, the predecessors of Congoleum
        manufactured straight line (plain, printed and inlaid) linoleum
        flooring, vinyl asbestos tile, battleship linoleum,
        linoleum/vinyl wall coverings, vinyl desk tops, vinyl operating
        room flooring, pastes, waxes, adhesives and specific products for
        military use (tent cloth, aerial torpedo parts and grenades,
        mildew proof sandbags, battleship linoleum, camouflage netting
        and synthetic leather, all manufactured for the military during
        World War II) at the Kearny Facility. Raw materials used would
        have included vinyl resins, plasticizers, stabilizers, lime
        stone, pigments, oils, and fillers.

                  The manufacturer of six foot rolled/straight line
        linoleum flooring (including battleship linoleum, linoleum/vinyl
        wall coverings, vinyl desk tops and vinyl operating room
        flooring) was conducted at the Kearny Facility from approximately
        1886/1888 into, possibly, the early 1970s, but with a substantial
        reduction in the manufacturer of rolled/straight line linoleum
        occurring in or about 1956 or 1957. The process for making
        linoleum would have been mixing a cement or binder, filler
        material, oils and pigments. Oils would have been soybean oil,
        linseed oil or toll oil.  Filler materials would have included
        saw dust, wood flour, ground cork and/or ground lime stone.

                 The manufacturer of vinyl asbestos tile occurred at the
       Kearny Facility up until approximately 1973 or 1974. Current
       Congoleum employees do not know when the manufacturer of vinyl
       asbestos tile first began. The process for manufacturing vinyl
       asbestos tile would have included.mixing a binder material
       (containing vinyl resins, plasticizers and stabilizers), a filler
       material (including asbestos, asphalt, lime stone and non-fibrous
       talc) and pigments. The plasticizer would have included, among
       others, 8160 butyl benzyl phthalate and, possibly, benzaflex 988.




                                    EXHIBIT 4-1




                                                          CONGOLEUM - 051144


                                                                            CONG_0006014
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                      Adhesives would have included standard floor adhesives
            using lignin as an antifungicide filler and small amounts of
0           mercury as an anti-bacteria agent. Waxes would have been
            carnauba based waxes. The manufacturer of adhesives and waxes
            ceased in or about the mid to late 1960s.

                      During World War II, the company manufactured tent
            cloth, aerial torpedo parts and granades, mildew proof sandbags,
            battleship linoleum, camouflage netting, which was coated with
            nitrocellulate, and synthetic leathers for military use.

                      As part of the support for the manufacturing
            operations, the following additional activities were conducted at
            the Kearny Facility:

                       l.   Cork grinding mills were operated at the facility
                            to grind corks and other materials for use as
                            filler. Upon information and belief, the cork
                            grinding mill operation ceased in or about the
                            late 1950s or early 1960s.

                       2.   Above ground storage tanks were maintained for the
                            storage of raw material oils and fuel oils for
                            operating of the heating plant. At one time, the
                            number of above ground tanks numbered
                            approximately between 10 and 20 tanks.  Current
                            Congoleum employees do not know when the tank farm
                            was dismantled.

                       3.   A research and development laboratory was
                            maintained at the facility until approximately
                            1977, and a very small laboratory remained· at the
                            site until the early 1980s.

                       4.   There was an auto maintenance support department
                            at the site.

                       5.   There was a power plant at the site, including a
                            backup electrical generator, steam generator and
                            oil fueled boilers. Current employees do not know
                            when the power plant ceased primary operations.

                       6.   There was a first aid station.

                       7.   There was general administrative offices and
                            warehousing facilities at the site.

                      In addition, manufacturing processes would have used
            both contact cooling water and non-contact cooling water to cool
            finished product. City supplied water, on-site wells and the
            Passaic River would have served as sources for the water.
            Contact cooling water would have been discharged into the city

                                         EXHIBIT 4-2




                                                              CONGOLEUM - 051145


                                                                                CONG_0006015
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        sewer system pursuant to permit, except during episodes of heavy
        rainfall causing overflows. Non-contact cooling water would have
        been discharged into the Passaic River, which current employees
        believe would have been, at some point, pursuant to a water
        discharge permit.
        B.    Waste Processing/Collection
                  To the best of the knowledge, information and belief of
        the current Congoleum employees, there was never any water
        treatment facility at the Kearny Facility.
                  Waste materials from the linoleum processing would have
        included extruded, finished product not suitable for distribution
        and/or sale and scrap materials from cutting the finished
        product. Such extruded linoleum and scrap linoleum. materials
        would have been collected and disposed of at off-site dumps.
                  Unused vinyl asbestos tile, scrap tile or tile not
        suitable for distribution and/or sale, would have been ground and
        reused in the manufacturing process.
                  Solvents used to clean machinery would have been
        received and stored in 55 gallon drums, and also placed into five
        gallon safety cans. Solvents would have been recycled and stored
        in 55 gallon drums to be picked up by a recycler, the identity of
        whom is unknown. Such 55·gallon drums would have been stored
        inside or under cover.
                  Asbestos was received in 50 pound or 100 pound pressure
        packed packages in burlap bags, and would have been stored in
        warehouses . . The only asbestos not used in the manufacturing
        process would have been insignificant amounts of asbestos that
        fell to the floor, and would have been swept from the floor as
        part of the general plant refuge and garbage.
                   Pigments, including those containing heavy metals,
         would have been stored in bags, drums or other containers in
         which the pigments were supplied. There would not have been
       · separate pigment waste.
                  Oils, both raw material oils and fuel oils, would have
        been stored in above-ground storage tanks. There may have been
        isolated oil spills, of which current employees have no personal
        knowledge, ano there would have been used/dirty oil from oil
        changes and maintenance of automobiles and trucks and machinery
        crank cases. There would not have been any oil waste streams
        from the manufacturing process.




                                     EXHIBIT 4-3




                                                          CONGOLEUM - 051146


                                                                            CONG_0006016
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                       Filler materials would have been stored in 50 pound or
             100 pound bags or 55 gallon drums, and would have been stored
             with inventory in the warehouse. Filler materials would have
             been used in the manufacturing process and there would not have
             been independent filler wastes, other than insignificant amounts
             which may have fallen onto the floor and been swept up as part of
             general plant refuge and garbage.
                       Upon information and belief, but no personal knowledge,
             current Congoleum employees have heard stories over the years
             that.coal ash from the power plant may have been dumped and
             spread along the bank of the Passaic River, and that scrap vinyl
             may have been buried on some portions of the Kearny Facility.
                       Chemicals and pigments from the laboratory would have
             been packed into lab packs, then into 55 gallon drums and then
             properly disposed of at off-site dump sites.
                       Current Congoleum employees do not know the identity of
             any haulers, transporters or garbage collectors who may have
             served the Kearny Facility, do not know the identity of any off-
             site dump sites that may have received materials from the Kearny
             Facility and have been unable to locate any documents that would
             provide such information.




                                          EXHIBIT 4-4




                                                               CONGOLEUM - 051147


                                                                                 CONG_0006017
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                    EXHIBIT
                       5 ·




                                                          CONGOLEUM - 051148


                                                                            CONG_0006018
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                         RESPONSE OF CONGOLEUM CORPORATION
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        EXHIBIT 5, ENGINEERING DRAWINGS

                  Listed below and enclosed, are some of the engineering
        drawings culled from a review of a box of microfiche of
        engineering drawings.
                   1.   Bld. 115 - 1965 Cooling Water Survey.
                  1-A. This schematic sets forth water lines, heat
        exchangers, condensers, drains, and sewer lines. There appears
        to be an 8-inch drainpipe to the river from a sump that collects
        overflow from a well water pump. There is a 6-inch drain that
        runs along the building that also feeds the sump and,
        consequently, the 8-inch drain to the river.
                   1-B. This schematic is similar to No. 1, it shows the
        cooling water system for Bld. 115. In addition to what is set
        forth in No. 1, it indicates above ground drains, and an open pit
        or trench running through the building. It indicates that there
        was spray-cooling of goods with drainage into an open trench.
        This open trench ran through the building to a drain which ran to
        the river.
                  1-C. This schematic indicates the cooling water system
        for a portion of the plant with a focus on the Worthington
        Condenser and SandVick Belt.
                  2.    Bld. 115 - Test Borings for Asphalt Tile Plant.
        dated 9/6/65. This schematic shows boring results taken around
        Bld. 115. It indicates that the ground in and around Eld. 115
       ·consisted of approximately 6-8 feet of miscellaneous fill, 5 feet
        of peat, 10 feet of silt or fine sand, with an underlayer of red
        shell. This drawing indicates that Bld. 115 was on Passaic
        Avenue, there was an existing Erie Railroad siding running
        through the property and the far side of the property was
        bordered by th.e Passaic River. There was a bulkhead along the
        Passaic River, and the high water mark came well over this
        bulkhead.




                                    EXHIBIT 5-1




                                                           CONGOLEUM - 051149


                                                                            CONG_0006019
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                  3.   Eld. 115 - Well Water Re-use Diagram. Proposed.
        This schematic is dated 9/22/65 and indicates the use of well
        water for cooling. It indicates a 1,000 gallon water storage
        tank with an overflow discharge to the river.
                  4.   Fire Protection & Sewer Lines West of Passaic
        Avenue. This schematic indicates a number of buildings on the
        property, a small tank farm and the city sewer lines running
        along Passaic Avenue.
                   5.   Top of Northwest Section of Plant showing dock,
         cork storage and surroundings. This schematic shows a number of
         buildings between the Passaic River, Passaic Avenue and Bergen
         Avenue. They are as follows:
                        C-14 through C-16 - drying areas;
                        Eld. 10 - coating and drying;
                        D-1 - a shed;
                        Eld. 1 - pigment and storage;
                        A-4 - underground 5000 gallon storage tank;
                        Bld. 3 - storage and shipping;
                        Bld. 90, Bld. 41 - gatehouse;
                        Bld. 34 - first aid station;
                        Bld. 62 - cork shed;
                        Bld. 20 - garage;
                        Bld . 17 - underground 500 gallon gasoline
                                   storage tank;
                        Eld. 101 - storage shed;
                        Bld. 63 - garage;
                        Eld. 93 - unidentified;
                        Three solvent storage tanks surrounded by a
                        dike;
                        Bld. 99 - clay storage;
                        Eld. 100 - clay pulverizer;
                        Bld. 35 - crating shed, a glutrine tank;
                        Eld. 64 - storage, a coal pile outside a storage
         shed, a 2000 gallon underground storage tank containing petroleum
         ether, two 1000 storage tanks containing petroleum ether;
                        Eld. 23, Eld. 23b - pump ro.om;
                        Eld. 19 - broken into several sub-buildings
       · identified as B-1, B-2, B-3 and B-4 for storage of burlap, wood,
         flour, talc and kauri gum;
                        Eld. 96 - cork crusher;
                  The Erie Railroad right. of way came in with tracks
        running through the plant. There were several walkways
        throughout the plant area, and an above ground 4-inch clay line.




                                    EXHIBIT 5-2




                                                           CONGOLEUM - 051150


                                                                            CONG_0006020
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                   6.   Service Piping. Storm and City Sewer Lines.

                  6-A. This schematic shows the entire plant area. The
        plant is bordered by Passaic Avenue, Marshall Street, Belgrave
        Drive, and Bergen Avenue. On this schematic there appears to be
        property owned by Two Guys between Congoleum and the Passaic
        River in one section. Bld. 115 is on the far side of Passaic
        Avenue bordering the Passaic River. This schematic indicates a
        tank farm containing thirteen above ground storage tanks were
        located on plant property.
                  6-B. This schematic is similar to past drawings. It
        indicates a number of storm sewer lines running to the Passaic
        River from both the Congoleum and Two Guys properties.

                  7.   Service Piping Storage Tank Data. This schematic
        indicates the previously mentioned tank farm containing thirteen
        above ground storage tanks. These tanks are diked . It also
        indicates two 12,000 gallon tanks, and a 20,000 gallon tank near
        Eld. 10. It indicates a 200,0DO gallon reservoir and a 236,000
        reservoir. There was also a 15,000 gallon above ground storage
        tank, and a 60,000 gallon tank containing fuel oil, both
        surrounded by a dike. Finally, next to Bld. 115 there are five
        above ground storage tanks ranging in size from 10,000 to 80,000
        gallons.

                  8.   Bld. 115 - Cooling Water Usage. This chart
        indicates the gallons per minute estimates far water Usage and
        discharge an the various machines. It indicates waste water
        discharge, cooling water discharge, discharge to the trench, and
        waters returned to the sump.




                                    EXHIBIT 5-3




                                                           CONGOLEUM - 051151


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